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April 3", 2024
To whom it may cancer;

Julian my cousin and the godfather of my second son.

Growing up with Jullan was an absolute pleasure, Our family is vary close. Even though
we ara cousins we practically grew up In the same home, We saw and playect with
gach other as children on a daily basis. Julian was always the quiet ona, very resarved
and always kept to himself. When the news broke | was in complete shook, this is not -
ry cousin Jullan. Jullan would never harm a fly. in fact, Julian was the one who
avolded any conflicts, and the first to try to rasaive any differences cordially. He spent
his entira lifa working In the service industry. fullan worked in restaurants, taverns and
aven financial services industry with PNC Bank for some time. He was naver involved
in any altercation throughout his entire career.

He soon realized that entrepreneurship was for him and began to run his family

business Frutta Bowl in a completefy different state North Carolina. Even though he

was in a different state he managed to adapt and make frends thers, he pretty much
. Made friends easily everywhere he went,

dullan Is a very llkable man, gentia and down to earth. Julian has never hed any run-in
with the law his entire life. This whole situation has left the entire family in disarray. Our
~ family has never had any run-in with the jaw since my father and uncle immigrated here
In 1976. We are raised to respect our country, our democracy and our law

anto ant.

 

ine M. Khater J.D. {cousin}

 
